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11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        )   NO. CR 20-00249 RS-1
                                                      )
15           Plaintiff,                               )
                                                      )   STIPULATION TO VACATE AND RESET
16      v.                                            )   TRIAL DATE AND TO EXCLUDE TIME
                                                      )   ORDER
17                                                    )
     MARCUS ANDRADE                                   )
18                                                    )   Dept.:     Courtroom 3 – 17th Floor
             Defendant.                               )   Judge:     Hon. Richard Seeborg
19                                                    )
                                                      )   Hearing Date: January 23, 2024
20                                                    )
                                                      )
21

22           On November 14, 2023, the parties to the above-captioned matter appeared before the Court for
23 a status hearing. Dkt. 242. At that hearing, counsel for defendant Andrade requested that the March 11,

24 2024 trial date be vacated and reset in order to allow defense counsel adequate time to review

25 voluminous discovery and resolve remaining discovery disputes. Following the hearing, the government

26 and defense counsel met and conferred, and based upon defense counsel’s representations, the parties

27 hereby move to vacate the March 11, 2024 trial date, and to set a trial date in this case for August 5,

28

     STIP. TO RESET TRIAL DATE & EXCLUDE TIME        1
     CR 20-00249 RS
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 1 2024. The parties have consulted with the Court and understand that the Court is available for trial

 2 beginning on that date. The parties have discussed a proposed pretrial schedule order but have not

 3 reached agreement.

 4          The Court has excluded time through January 23, 2024 under the Speedy Trial Act. Dkt. 244.

 5 The parties hereby stipulate and ask the Court to exclude time under the Speedy Trial Act from January

 6 23, 2024 to August 5, 2024. This will allow defense counsel to continue to prepare, including by

 7 reviewing discovery. For this reason, the parties believes that excluding time until August 5, 2024 will

 8 allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further

 9 stipulate and assert that the ends of justice served by excluding the time from January 23, 2024 through

10 August 5, 2024 from computation under the Speedy Trial Act outweigh the best interests of the public

11 and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

12          The parties are set to appear before the Court on January 23, 2024 for a status conference. Dkt.

13 242.

14

15 DATED: December 29, 2023                                Respectfully submitted,

16                                                         ISMAIL J. RAMSEY
                                                           United States Attorney
17

18
                                                           _/s/ David J. Ward____________
19                                                         CHRISTIAAN HIGHSMITH
                                                           DAVID WARD
20                                                         Assistant United States Attorneys
21 DATED: December 29, 2023

22
                                                     By:   /s/ With Permission
23                                                         MICHAEL J. SHEPARD
                                                           KERRIE C. DENT
24                                                         CINDY A. DIAMOND
                                                           Attorneys for Defendant ANDRADE
25

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     STIP. TO RESET TRIAL DATE & EXCLUDE TIME        2
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 1                                                   ORDER

 2          Based upon the stipulation of the parties, and for good cause shown, it is hereby ORDERED that

 3 the trial of the above captioned matter be continued from March 11, 2024 to August 5, 2024.

 4          The Court further finds that failing to exclude the time from January 23, 2024 through August 5,

 5 2024 would unreasonably deny defense counsel and the defendant the reasonable time necessary for

 6 effective preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

 7 The Court finds that the ends of justice served by excluding the time from January 23, 2024 to August 5,

 8 2024 from computation under the Speedy Trial Act outweigh the best interests of the public and the

 9 defendant in a speedy trial.

10          Therefore, and with the consent of the parties, it is hereby ORDERED that the time from January

11 23, 2024 through August 5, 2024 shall be excluded from computation under the Speedy Trial Act. 18

12 U.S.C. § 3161(h)(7)(A), (B)(iv).

13
     SO ORDERED.
14

15 Dated: ____________________
            12/29/2023
                                                 HONORABLE RICHARD SEEBORG
16                                               United States Chief District Judge
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     STIP. TO RESET TRIAL DATE & EXCLUDE TIME       3
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